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                             UNITED STATES DISTRICT COURT
                                                                                       AUG - 6 2015
                           SOUTHERN DISTRICT OF CALIFORN A CLEr;;( LUc'. [li:Ti<'CT COURT
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                                                                             BY                       DEPUTY

UNITED STATES OF AMERICA,                             CASE NO. 14CR3486-WQH

                             Plaintiff,
                   vs.                                JUDGMENT OF DISMISSAL
FERNANDO GAXIOLA-ANGULO (1),

                             Defendant.


          IT APPEARING that the defendant is now entitled to be discharged
for the reason that:

      an indictment has been   led in another case against the defendant and
      the Court has granted     motion of the Government for dismissal of
      this case, without prejudice; or

      the Court has dismissed the case                      unnecessary delay; or

       the Court has granted the motion of the Government for dismissal,
       without prejudice; or

       the Court has granted the motion of the defendant for a judgment of
       acquittal; or

       a jury has been waived, and the Court has found the defendant not
       guilty; or

__
 X__ the jury has returned its verdict, finding the defendant not guilty;

___
  X_ of the offense(s) as charged in the Superseding Indictment:


(1s) 21 :952,960; 963 - Conspiracy to Import Methamphetamine(2s) 21 :952,960; 18:2 - Importation of
Methamphetamine; Aiding and Abetting




              IT IS THEREFORE ADJUDGED that the defendant is hereby discharged.


 DATED: JULY 1, 2015
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                                                       U.S. District Judge
